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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 UNITED STATES OF AMERICA,                   )
                                             )
                       Plaintiff,            )
                                             )
        v.                                   )       Cause No. 1:07-cr-0090-WTL-DKL-2
                                             )
 ANGEL S. TURNER,                            )
                                             )
                       Defendant.            )

                Magistrate Judge’s Report and Recommendation

        This matter is before the undersigned according to the Order entered by the Honorable

 William T. Lawrence, directing the duty magistrate judge to conduct a hearing on the Petition for

 Warrant or Summons for Offender Under Supervision (“Petition”) filed on July 18, 2014, and to

 submit proposed Findings of Facts and Recommendations for disposition under 18 U.S.C. §§

 3401(i) and 3583(e). Proceedings were held on July 18, 2014, in accordance with Rule 32.1 of

 the Federal Rules of Criminal Procedure.1

        On July 18, 2014, defendant Angel S. Turner appeared in person with her appointed

 counsel, Mike Donahoe. The government appeared by Josh Minkler, Assistant United States

 Attorney. The United States Probation Office (“USPO”) appeared by Officer Shelly McKee,

 who participated in the proceedings.




 1
        All proceedings were recorded by suitable sound recording equipment unless otherwise
 noted. See 18 U.S.C. § 3401(e).


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         The court conducted the following procedures in accordance with Federal Rule of

 Criminal Procedure 32.1(a)(1) and 18 U.S.C. § 3583:

         1.      The court advised Ms. Turner of her right to remain silent, her right to counsel,

 and her right to be advised of the charges against her. The court asked Ms. Turner questions to

 ensure that she had the ability to understand the proceedings and her rights.

         2.      A copy of the Petition was provided to Ms. Turner and her counsel, who informed

 the court they had reviewed the Petition and that Ms. Turner understood the violations alleged.

 Ms. Turner waived further reading of the Petition.

         3.      The court advised Ms. Turner of her right to a preliminary hearing and its purpose

 in regard to the alleged violations of her supervised release specified in the Petition. Ms. Turner

 was advised of the rights she would have at a preliminary hearing. Ms. Turner stated that she

 wished to waive her right to a preliminary hearing.

         4.      Ms. Turner stipulated that there is a basis in fact to hold her on the specifications

 of violations of supervised release as set forth in the Petition. Ms. Turner executed a written

 waiver of the preliminary hearing, which the court accepted.

         5.      The court advised Ms. Turner of her right to a hearing on the Petition and of her

 rights in connection with a hearing. The court specifically advised her that at a hearing, she

 would have the right to present evidence, to cross-examine any witnesses presented by the

 United States, and to question witnesses against her unless the court determined that the interests

 of justice did not require a witness to appear.

         6.      Ms. Turner, by counsel, stipulated that she committed Violation Numbers 1, 2, 3,

 4, 5, 6, and 7 set forth in the Petition as follows:




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       Violation
       Number      Nature of Noncompliance

            1      “The defendant shall answer truthfully all inquiries by the probation
                   officer and follow the instructions of the probation officer.”

                   The defendant was provided written instructions by the probation officer
                   to remit a $75 relapse fee no later than April 1, 2014. She has failed to do
                   so.

         2         “The defendant shall notify the probation officer at least ten days
                   prior to any change in residence or employment.”

                   On or about May 4, 2014, the defendant moved from her approved
                   residence in Indianapolis and did not notify this officer that she has moved
                   until May 30, 2014.

         3         “The defendant shall refrain from excessive use of alcohol and shall
                   not purchase, possess, use, distribute, or administer any controlled
                   substance or any paraphernalia related to a controlled substances,
                   except as prescribed by a physician.”


         4         “The defendant shall not frequent places where controlled substances
                   are illegally sold, used, distributed, or administered.”


         5         “The defendant shall refrain from any unlawful use of a controlled
                   substance.”

                   As previously reported to the Court, on October 15, 2012, the defendant
                   provided a urine specimen which tested positive for opiates. She admitted
                   taking her mother’s hydrocodone prescription for pain. On November 2,
                   2012, the defendant provided a urine specimen which tested positive for
                   opiates and marijuana. She admitted taking her mother’s hydrocodone
                   medication. However, she denied using marijuana, despite the sample
                   being confirmed positive for marijuana through an independent laboratory.
                   On February 23, 2014, the defendant provided a urine specimen which
                   tested positive for marijuana. The defendant admitted smoking marijuana.

                   On April 27, and May 30, 2014, the defendant provided urine specimens
                   which tested positive for marijuana. She admitted smoking marijuana to
                   produce both positive samples.

        6          “The defendant shall participate in a substance abuse treatment
                   program at the direction of the probation officer, which may

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                        include no more than eight drug tests per month. The defendant
                        shall abstain from the use of all intoxicants, including alcohol,
                        while participating in a substance abuse treatment program. The
                        defendant is responsible for paying a portion of the fees of
                        substance abuse testing and/or treatment.”

                        The defendant failed to report for a scheduled drug screens on
                        February 21 and 23, April 23 and 30, May 4, 13, 15, 18, and May 29,
                        and June 15, 2014.

          7             “The defendant shall not commit another federal, state, or local
                        crime.”

                        As previously reported to the Court, on August 15, 2012, and January
                        9, 2013, the defendant was arrested by a Bartholomew County
                        Sheriff’s Deputy for the offense of Driving While Suspended. Ms.
                        Turner has since obtained a valid driver’s license. In both cases, the
                        defendant entered into a pretrial diversion program and has status
                        check schedule for April 3, 2015.


        7.      The Court placed Ms. Turner under oath and directly inquired of Ms. Turner

 whether she admitted violations 1, 2, 3, 4, 5, 6, and 7 of her supervised release set forth above.

 Ms. Turner admitted the violations as set forth above.

        8.      The parties and the USPO further stipulated that:

                (a)     The highest grade of Violation (Violation 2) is a Grade B violation
                        (U.S.S.G. § 7B1.1(a)(2)).

                (b)     Ms. Turner’s criminal history category is III.

                (c)     The range of imprisonment applicable upon revocation of Mr. Williams’
                        supervised release, therefore, is 8-14 months’ imprisonment. (See
                        U.S.S.G. § 7B1.4(a).)

        9.      The parties disagreed on the appropriate disposition of the Petition. The United

 States requested that she be placed in a residential re-entry facility for six months. The

 defendant presented testimony and argument that such a condition would not be appropriate

 because it would be incompatible with her schooling and her need to assist her elderly mother.


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 Having heard all the testimony and argument, the court determined as follows: (a) the

 defendant’s supervised release is to be modified; (b) the defendant will be placed on home

 detention with RF monitoring to be paid for by the defendant for a period of 120 days; (c)

 defendant is to be placed on home detention each weekend starting on Friday at 3:30 p.m. to

 Monday at 6:00 a.m. at her mother’s residence in Columbus, Indiana, with all other terms of

 supervised release to remain the same.

        The court, having heard the admissions of the defendant, the stipulations of the parties,

 and the arguments and position of each party and the USPO, NOW FINDS that the defendant,

 ANGEL S. TURNER, violated the above-specified conditions in the Petition and that her

 supervised release should be and therefore is MODIFIED as set forth above.

        Counsel for the government and Ms. Turner stipulated in open court waiver of the

 following:

        1. Notice of the filing of the Magistrate Judge=s Report and Recommendation;

        2. Objection to the Report and Recommendation of the undersigned Magistrate Judge

 pursuant to Title 28 U.S.C. '636(b)(1)(B) and (C); and, Federal Rules of Criminal Procedure

 59(b)(2).

        Counsel for the parties and Ms. Turner entered the above stipulations and waivers after

 being notified by the undersigned Magistrate Judge that the District Court may refuse to accept

 the stipulations and waivers and conduct a revocation hearing pursuant to Title 18 U.S.C. '3561

 et seq. and Rule 32.1 of the Federal Rules of Criminal Procedure and may reconsider the

 Magistrate Judge=s Report and Recommendation, including making a de novo determination of

 any portion of the Report or specified proposed findings or recommendation upon which he may

 reconsider.



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        WHEREFORE, the magistrate judge RECOMMENDS the court adopt the above

 recommendation modifying Ms. Turner’s supervised release, she is to be placed on home

 detention with RF monitoring to be paid for by the defendant for a period of 120 days.

 Defendant is to be placed on home detention from each weekend starting on Friday at 3:30 p.m.

 to Monday at 6:00 a.m. at her mother’s residence in Columbus, Indiana, with all other terms of

 supervised release to remain the same.

        IT IS SO RECOMMENDED.


                07/22/2014
        Date: ____________________                         ____________________________________
                                                              Debra McVicker Lynch
                                                              United States Magistrate Judge
                                                              Southern District of Indiana




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